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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10

11    MICHAEL WILLIAM HOUTZ,                    Case No. 2:20-cv-03634-MAA
12
                         Plaintiff,
13          v.                                  JUDGMENT
14    ANDREW M. SAUL, Commissioner
15    of Social Security,

16                       Defendant.
17

18         In accordance with the Memorandum Decision and Order Reversing
19   Decision of the Commissioner and Remanding for Further Administrative
20   Proceedings filed herewith,
21         IT IS HEREBY ADJUDGED that the decision of the Commissioner of
22   Social Security is reversed and that this matter is remanded for further
23   administrative proceedings pursuant to sentence four of 42 U.S.C. § 405(g).
24

25   DATED: April 23, 2021
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27                                     _______________________________________
                                       MARIA A. AUDERO
28                                     UNITED STATES MAGISTRATE JUDGE
